
650 S.E.2d 598 (2007)
Bobby Davis BRASWELL
v.
ST. PAUL MERCURY INSURANCE COMPANY and Fidelity and Guaranty Insurance Company.
No. 129P07.
Supreme Court of North Carolina.
August 23, 2007.
Glenn A. Barfield, Goldsboro, for Braswell.
G. Gray Wilson, Winston-Salem, Paul Janaskie, McLean, VA, for Insurance Company.

ORDER
Upon consideration of the conditional petition filed on the 23rd day of March 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 23rd day of August 2007."
